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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

CHRISTINE DE LEVA,

                     Plaintiff,

         v.                                         Case No. 8:21-cv-01820-DKC

LOWE’S COMPANIES, INC. and LOWE’S
HOME CENTERS, LLC,

                     Defendant.


                                  JOINT STATUS REPORT

         Plaintiff Christine De Leva, proceeding pro se, and Defendants Lowe’s Companies, Inc.

and Lowe’s Home Centers, LLC, by their undersigned counsel, and pursuant to the Court’s

October 18, 2021 Scheduling Order (Dkt. No. 19), provide a Joint Status Report.

         A.       Whether Discovery Has Been Completed.

         Discovery is complete with the exception of additional responsive information to be

produced by Plaintiff. Defendants have sought supplementation of various discovery deficiencies

since December 2021. While some limited supplementation has been provided, significant

deficiencies remain. Accordingly, Defendants will request a brief extension of discovery to

conclude Plaintiff’s deposition, which was held open pending receipt of information, and the

dispositive motion deadline. Plaintiff opposes this request.

         B.       Whether Any Motions Are Pending.

         Contemporaneously with this Report, Defendants are filing a Motion to Extend Discovery

and the Dispositive Motion Deadline for the limited purpose of allowing Defendants to have the

opportunity to conclude Plaintiff’s deposition following Defendants’ receipt of responsive

information.


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         C.       Whether Any Party Intends To File A Dispositive Pretrial Motion.

         Defendants intend to file a motion for summary judgment as to all of Plaintiff’s claims on

or before the current dispositive motion deadline of April 1, 2022, or on or before any extended

deadline as may be granted by the Court.

         D.       Whether The Case Is To Be Tried Jury Or Non-Jury And The Anticipated
                  Length Of Trial.

         Plaintiff has requested a jury trial. Defendants contend that Plaintiff’s claims can be

decided as a matter of law. Should a jury trial be necessary, Defendants believe that a trial is likely

to last three (3) to four (4) days.

         E.       A Certification That The Parties Have Met To Conduct Serious Settlement
                  Negotiations; And The Date, Time And Place Of The Meeting And The Names
                  Of All Persons Participating Therein.

         Defense counsel repeatedly requested a settlement demand from Plaintiff during the time

period that Ms. Correia represented her in this matter, but Plaintiff did not provide one. Defense

counsel and Ms. Correia attempted to discuss settlement from the outset of the case, but the

discussions were impeded by lack of a settlement demand. Plaintiff, proceeding pro se, finally

made a settlement demand in mid-February 2022. Given the nature of this demand, it does not

appear direct settlement discussions with Plaintiff will be productive, though the parties have

agreed to mediate with Judge Sullivan.

         F.       Whether Each Party Believes It Would Be Helpful To Refer This Case To
                  Another Judge Of This Court For A Settlement Or Other ADR Conference,
                  Either Before Or After The Resolution Of Any Dispositive Pretrial Motion.

         Pursuant to a joint request by the parties, this matter was referred to Magistrate Judge

Timothy J. Sullivan for a judicial settlement conference. On February 23, 2022, the Court

appointed a pro bono attorney for Plaintiff, solely for purposes of representing Plaintiff at the




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conference, and the parties await communications from the Court regarding scheduling of the

conference.

         G.       Whether All Parties Consent, Pursuant to 28 U.S.C. § 636(c), To Have A U.S.
                  Magistrate Judge Conduct All Further Proceedings In This Case, Either
                  Before Or After The Resolution Of Any Dispositive Pretrial Motion, Including
                  Trial (Jury Or Non-Jury) And Entry Of Final Judgment.

         All parties do not consent.

         H.       Any Other Matter Which You Believe Should Be Brought To The Court’s
                  Attention.

         Apart from the forthcoming motion referenced above, Defendants are not currently aware

of any other matters which they believe should be brought to the Court’s attention.

Date: March 2, 2022

By: s/ Christine De Leva*                            By: s/ Margaret M. Manos
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 2, 2022, I filed the foregoing JOINT STATUS REPORT by

CM/ECF, and that I caused a true and correct copy of the foregoing to be served via e-mail and

first class mail upon the Plaintiff as follows:

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